   Case 1:12-cv-00474-SLR Document 6 Filed 11/14/12 Page 1 of 2 PageID #: 47



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

GOLDEN BRIDGE TECHNOLOGY, INC.                     )
                                                   )
                         Plaintiff,                )
                                                   ) C.A. No. 12-474-SLR
                  v.                               )
                                                   )
HUAWEI TECHNOLOGIES CO., LTD.,                     )
                                                   )
                         Defendant.                )


                         STIPULATION AND ORDER OF DISMISSAL

        Plaintiff, Golden Bridge Technology, Inc., (“GBT”) and Defendant Huawei Technologies

Co., Ltd. (“Licensee”) stipulate as follows under Fed. R. Civ. P. 41(a)(2):

        1.        GBT and Licensee have agreed to a compromise settlement of the pending issues

against them. The terms and conditions of the settlement are set forth in a confidential Patent

License and Settlement Agreement dated July 23, 2012 (the “Agreement”).

        2.        In accordance with the Agreement, GBT and Licensee stipulate, subject to the

approval and order of the Court, that all of GBT’s claims in this case be dismissed with prejudice

as against Licensee only.

        3.        Neither of GBT or Licensee shall receive any award against the other for

attorneys’ fees, costs, or litigation expenses of any kind.

        4.        GBT and Licensee stipulate and agree that, consistent with applicable authority,

namely, Kokkonen v. Guardian Life Insurance Company of America, 511 U.S. 375 (1994), this

Court shall retain continuing jurisdiction to resolve any controversy or claim arising out of or

relating to the terms and conditions of the Agreement, any party's performance or failure to




                                                  1

ME1 14400007v.1
   Case 1:12-cv-00474-SLR Document 6 Filed 11/14/12 Page 2 of 2 PageID #: 48



perform thereunder, or any other claim or dispute arising out of or resulting from the Agreement

or relating to the propriety of the conduct of GBT or Licensee with respect to the Agreement.

        5.        GBT and Licensee submit to the personal jurisdiction of this Court for the

purposes of resolving any controversy or claim arising out of or relating to the terms and

conditions of the Agreement, any performance or failure to perform thereunder, or any other

claim or dispute arising out of or resulting from the Agreement or relating to the propriety of the

conduct of GBT or Licensee with respect to the Agreement. GBT and Licensee stipulate and

agree that, provided this Court retains jurisdiction as provided above, this Court shall have

exclusive jurisdiction and venue with respect to any such controversy, claim, or dispute. Any

such controversy, claim, or dispute shall be governed by Delaware law (excluding rules

regarding choice of law).

 Dated: November 14, 2012                             Dated: November 14, 2012

 MCCARTER & ENGLISH, LLP                              RICHARDS, LAYTON & FINGER, P.A.
 By:    /s/ Daniel M. Silver     _________            By: /s/ Jeffrey L. Moyer
       Michael P. Kelly (DE #2295)
       Daniel M. Silver (DE #4758)                       Jeffrey L. Moyer (#3309)
       Renaissance Centre                                Elizabeth R. He (#5345)
       405 N. King Street 8th Floor                      One Rodney Square
       Wilmington, DE 19801                              920 North King Street
       Tel: (302) 984-6300                               Wilmington, DE 19801
       Fax: (302) 984-6399                               (302) 651-7700
       mkelly@mccarter.com                               moyer@rlf.com
       dsilver@mccarter.com
                                                         he@rlf.com
 Attorneys for Plaintiff
 Golden Bridge Technology, Inc.                       Counsel for Defendant
                                                      Huawei Technologies Co., Ltd.

                               SO ORDERED this _______ day of __________________, 2012.

                                             ___________________________________
                                                   Sue L. Robinson
                                                   United States District Judge



                                                2

ME1 14400007v.1
